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12                                     UNITED STATES DISTRICT COURT
13                                    NORTHERN DISTRICT OF CALIFORNIA
14

15
     MANUEL REYES,                                       Case No.: 4:21-cv-03362-PJH
16

17
                   Plaintiff,                        PLAINTIFF REYES’ OPPOSITION TO
                                                     DEFENDANT’S MOTION/APPLICATION
18                              vs.                  TO COMPEL ARBITRATION
19                                                       Date: August 12, 2021
   HEARST COMMUNICATIONS, INC., and                      Time: 1:30 pm
20
   DOES 1–10, inclusive,                                 Location: Videoconference
21
                                                          Judge: Honorable Phyllis J. Hamilton
22                                                       Action Filed: May 5, 2021
                   Defendant.
23

24                                                       )
25

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 1                                                  I.    INTRODUCTION
 2            Defendant’s Motion to Compel Arbitration must be denied because (1) Plaintiff is exempt under
 3
     the Federal Arbitration Act (“FAA”) as a transportation driver, (2) the arbitration agreement does not
 4
     cover claims for misclassification as an independent contractor, (3) the arbitration agreement is
 5
     procedurally and substantially unconscionable as Plaintiff was forced to sign the arbitration agreement
 6
     and releases of liability as condition of further employment and Defendant refused to give Plaintiff a
 7
     version of the agreement in his native Spanish language, (4) the agreement does not meet the
 8
 9   requirements of the California Supreme Court in Armendariz v. Found. Health Psychcare Servs., Inc.,

10   24 Cal. 4th 83, 102 (2000) as the arbitration agreement requires Plaintiff to pay half of the arbitrator’s

11   fees, (5) the agreement was entered into by coercive and misleading means as the agreement also
12   included a one-sided release where Plaintiff releases claims while Defendant does not release any claims
13   against Plaintiff, and (6) there was no mutual consent as the agreement is vague and misleading. The
14
     clause makes a single reference to “employment,” is devoid of any specifics of Plaintiff’s rights as an
15
     employee vs. a contractor and cites that the AAA Commercial rules apply instead of AAA employment
16
     law rules.
17
                                                  II.    FACTUAL BACKGROUND
18
              A.       The 2019 Martel v. Hearst & Sanchez v. Hearst case
19
20            The Martel action where a Bay Area Dealer was found to be misclassified was originally filed in

21   San Mateo Superior Court on April 17, 2019. (Request for Judicial Notice (Martel v. Hearst

22   Communications Inc., No. 3:19-cv-02715-WHA) (“RJN”), Exhibit A). The Complaint alleged that
23   Martel was misclassified as an independent contractor by Defendant to pick up and deliver newspapers.
24   (RJN, Exhibit A at pg. 5-9 and ¶¶ 11-31). The Complaint alleged causes of action of 1. Failure to
25
     compensate piece rate employees for rest and recovery periods and other nonproductive time; 2. Failure
26
     to provide meal periods; 3. Failure to provide rest periods; 4. Failure to pay minimum and overtime
27
     wages; 5. Failure to maintain accurate and complete employment records; 6. Failure to provide accurate
28
     itemized wage statements; and 7. Failure to reimburse business expenses. (RJN, Exhibit A). Martel

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 1   was removed to the Northern District. (RJN Exhibit B). Martel disclosed potential damage of over
 2   $500,000 in August of 2019. (RJN Exhibit F). On June 25, 2020, Judge William Alsup granted
 3   summary judgment in favor of Martel. (RJN, Exhibit C).
 4
              B.       October 2019 Labor Board Award in Hernandez v. Hearst Communications, et al.
 5
              On October 4, 2019, the Labor Board awarded a worker $43, 315.27 who performed services as
 6
     a News Paper Carrier for Hearst from March 2015 to March 2018 in California. (RJN, Exhibit J).
 7
     Hearst testified that newspaper delivery was a necessary function for Hearst. Id. at pg. 14, LNS. 26-27.
 8
 9            C.       The Sanchez Matter

10            On July 27, 2020, the Sanchez v. Hearst, No. 3:20-cv-05147-VC matter was filed in the
11   Northern District. (RJN, Exhibit G). The current Sanchez class action allege identical claims as Martel
12   except on a class wide basis. (RJN, Exhibit H,). The class is on behalf of people throughout California
13
     who contracted with Defendant to provide for distribution and delivery of print media products
14
     including the San Francisco Chronicle and other publications, to Defendant’s customers in the State of
15
     California from July 27, 2016 to the present. (Id. at ¶46.).
16
              D.       Plaintiff Manuel Reyes is a Spanish Speaker.
17
              Plaintiff is a native Spanish speaker and was born in El Salvador. (Declaration of Manuel Reyes
18
19   (“Reyes Decl.”), ¶¶ 3-4). He did not graduate college. Id. at ¶ 5. He is not fluent in reading or writing

20   English. Id. at ¶ 6. Similar to Martel, Hernandez, and Sanchez, Plaintiff’s lawsuit alleged wage and

21   hour claims by being misclassified as an independent contractor as a newspaper dealer or other similar
22   job title and that Defendants required Plaintiff to pick up and deliver newspapers by certain specified
23   times hours and times. (DKT. No. 1, pg. 3-5, ¶¶ 8-13). Plaintiff delivers the following publications:
24
     San Francisco Chronicle, Wall Street Journal, Barrons, BSUN, Bang TV, China Daily, Financial Times,
25
     IBD, Korean Times, the New York Times and SF TV Weekly. (Reyes Decl. ¶¶ 25-26). Plaintiff also
26
     delivers advertisements that were shipped from other states. Id. at ¶ 28.
27
              D.       Production of Arbitration Agreement and Release.
28


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 1            On June 14, 2021, Defendant’s counsel provided Plaintiff’s counsel with copies of Plaintiff’s
 2   2019 independent contractor agreements that contained an arbitration clause and revised releases.
 3   (Nakama Decl., ¶ 3, Exhibits A-C). (Nakama Decl., Exhibit A, pg. 3, ¶ 17); (Nakama Dec. Exhibit C,
 4
     pg. 10, ¶ 17). The releases only require that Plaintiff release all claims against Defendant while
 5
     Defendant did not release any claims against Plaintiff. Id. The arbitration agreement stated that it was
 6
     govern by the Federal Arbitration Act. According to the agreement, “The Arbitrator's and/or arbitration
 7
     fees will be apportioned equally between the parties, and any disputes in that regard will be resolved by
 8
     the Arbitrator.” (Nakama Dec. Exhibit C, pg. 13, ¶ 18(j)). “This Arbitration Provision applies regardless
 9
10   of whether the Company or Contractor is seeking monetary damages, temporary injunctive relief, or

11   permanent injunctive relief.” (Id. at pg. 11, ¶ 18(a)). “Unless the parties jointly agree otherwise, the

12   Arbitrator shall be an attorney who is experienced in commercial law and licensed to practice law in the
13   state of California, or a retired judge who presided in the state of California.” (Id. at pg. 12, ¶ 18(e).
14            The agreement also contained the following clause:
15
              23. ENGLISH VERSION CONTROLLING. Contractor is exclusively responsible for
16            obtaining whatever translation assistance Contractor deems advisable to assist Contractor
              in understanding the English version of this Agreement. Company may, but is not
17            obligated to, provide Contractor with a translation of this Agreement in another language
18            ("Translated Version"). Company makes no warranties as to the accuracy of the
              Translated Version. The parties agree that the English version of this Agreement shall be
19            controlling if there is any difference between the English version and the Translated
              Version. The Translated Version shall be provided, if at all, for the convenience of
20            Contractor only, and Contractor accepts exclusive responsibility for understanding and/or
21            obtaining an accurately translated version of the English version of this Agreement. Also,
              Company may, but is not obligated to, make a translator available to assist Contractor in
22            translating the English version of the Agreement. However, Company makes no
              warranties as to the accuracy of any translations made by such translators.
23
24   (Nakama Dec. Exhibit C, pg. 13, ¶ 19). The agreement required Plaintiff to deliver news paper entitled

25   as USA Today, World Journal, New York Times, China Daily, Barrons, BANG TV, Financial Times,
26   Korean Times, etc. Id. at Exhibit C, pg. B2; Reyes Decl.
27            Plaintiff had no choice but to sign the independent dealer contract containing the release and
28
     arbitration provisions if he wanted to continue be employed by Defendant. (Reyes Decl., ¶¶ 8-10).


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 1   Defendant refused to provide him with a Spanish version of the agreements despite his request. Id. at ¶¶
 2   13 & 31. Plaintiff’s understanding of the terms was based on Defendant’s representatives’
 3   interpretation. Id. at ¶ 15. The releases were never explained to Plaintiff and he did not know that he
 4
     was giving up rights to sue Defendant in court for violations of California and federal law. Id. at ¶¶ 16-
 5
     20. Defendant never informed him of the other lawsuits against Defendant. Plaintiff’s son writes emails
 6
     in English to Defendant. Reyes has never written an email in English to Defendant. (Id. at ¶ 29).
 7
                                                   III.   ARGUMENTS
 8
              Under federal law, arbitration is a matter of contract. American Express Co. v. Italian Colors
 9
10   Restaurant, 133 S.Ct. 2304 (2013).           Arbitration agreements "shall be valid, irrevocable, and

11   enforceable, save upon such grounds as exist at law or in equity for the revocation of any contract." 9

12   U.S.C. § 2. “When deciding whether the parties agreed to arbitrate a certain matter courts generally
13   should apply ordinary state-law principles that govern the formation of contracts.” First Options
14   Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995).
15
              A.       The FAA Exempts Transportation Workers such as Plaintiff from Arbitration.
16
              "Transportation workers" are "workers actually engaged in the movement of goods in interstate
17
     commerce." Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 112. The FAA exempts transportation
18
     workers from the FAA. 9 U.S.C. § 1.            The United States Supreme Court held that the FAA’s
19
     exemption for transportation workers applied to a driver whose employment agreement labeled him as
20
21   an independent contractor. New Prime Inc. v. Oliveira, 139 S. Ct. 532 (2019). Contrary to Defendant’s

22   contention, a court, rather than an arbitrator, decides whether the exemption in 9 U.S.C. § 1 applies

23   before ordering arbitration. New Prime, 139 S. Ct. at 537-44 (rejecting employer’s argument that a
24   delegation clause can allow an arbitrator to decide whether the FAA transportation exemption applies).
25   Courts have uniformly acknowledged that delivery drivers whose primary purpose is to physically
26
     transport interstate goods are transportation workers under § 1 of the FAA. See Harden v. Roadway
27
     Package Sys. Inc., 249 F.3d 1137, 1140 (9th Cir. 2001).
28


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 1            According to the Ninth Circuit, transportation workers do not have to cross state lines to be
 2   engaged in interstate commerce for the exemption to apply. Rittmann v. Amazon, 971 F.3d 904, 909
 3   (9th Cir. 2020).      “The term ‘in commerce’ refers to interstate and foreign commerce – the type of
 4
     commerce that Congress has the power to regulate.” Id. at 914.          In Rittmann, delivery drivers who
 5
     delivered packages that crossed state lines were “transportation workers engaged in the movement of
 6
     interstate commence and exempt from the FAA’s application.” Id. at 914. In rejecting Amazon’s
 7
     arguments that the drivers should not be exempt because the drivers contracted with Amazon only to
 8
     make local deliveries, the Court stated the following:
 9
10            [u]ndoubtedly, a single act of carriage or transportation wholly within a state may be part
              of a continuous interstate carriage or transportation. Goods shipped from Albany to
11            Philadelphia may be carried by the New York Central Railroad only within the limits of
              New York, and yet that service is in interstate carriage.’ Id. at 26. That is precisely the
12            case here. AmFlex drivers' transportation of goods wholly within a state are still a part of
13            a continuous interstate transportation, and those drivers are engaged in interstate
              commerce for § 1's purposes…..
14
              Here, however, Amazon packages do not "come to rest," at Amazon warehouses, and
15            thus the interstate transactions do not conclude at those warehouses. The packages are not
              held at warehouses for later sales to local retailers; they are simply part of a process by
16            which a delivery provider transfers the packages to a different vehicle for the last mile of
17            the packages' interstate journeys. The interstate transactions between Amazon and the
              customer do not conclude until the packages reach their intended destinations, and thus
18            AmFlex drivers are engaged in the movement of interstate commerce.
19   Id. at 915-16 (quoting People of State of New York ex rel. Pennsylvania Railroad Co. v. Knight, 192
20
     U.S. 21, 26 (1904).
21
              As the United States Supreme Court noted, “There can be little doubt today that the immediate
22
     dissemination of news gathered from throughout the nation or the world by agencies specially organized
23
     for that purpose is part of interstate commerce.” Lorain Journal Co. v. United States, 342 U.S. 143
24
     (1951). (citing Associated Press v. United States, 326 U.S. 1, 14 (1945)). “The distribution within Lorain
25
26   of the news and advertisements transmitted to Lorain in interstate commerce for the sole purpose of

27   immediate and profitable reproduction and distribution to the reading public is an inseparable part of the

28   flow of the interstate commerce involved.” Id. at 151-52. Likewise, in Page v. Work, 290 F.2d 233 (9th


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 1   Cir. 1961), the Ninth Circuit found that “newspapers and Consolidated were engaged in interstate
 2   commerce by virtue of (1) their regular purchases of newsprint and other supplies from sources outside
 3   of California; (2) the dissemination of national news; (3) their carrying of national advertising; and (4) a
 4
     few out-of-state subscribers.” Id. at 328.
 5
              Here, the delivery of newspapers involve interstate commerce as Defendant’s dissemination of
 6
     the news is part of interstate commerce. Additionally, as a distributor or publisher for publications
 7
     based in states outside of California and other countries worldwide, Hearst's admitted purpose is to sell
 8
     and deliver these out-of-state goods to its in-state customers. Although Plaintiff does not cross state
 9
10   lines, Plaintiff is engaged in the movement of interstate commerce and/or closely related to interstate

11   commerce and foreign commerce by delivering Defendant’s advertisements printed from outside of

12   California as well as magazines and newspapers. To the extent Defendant claims that all of its news
13   papers such as the Wall Street Journal, China Daily, Korean Times are printed only in California,
14   Plaintiff requests that he has an opportunity to conduct discovery and deposition on this issue before a
15
     final decision is made. Alternatively, Plaintiff’s duties are closely related to interstate commerce that
16
     the exemption should apply as the content contained in the news papers and/or magazines are obtained
17
     from different states and/or countries and a strike by Plaintiff and other workers would significantly
18
     interrupt interstate commerce.
19
               B.      The Release & Arbitration Provisions Do Not Cover Dealer Misclassification
20
                       Piece-Rate Claims.
21
               “Arbitrability” presents yet another insurmountable hurdle for Defendant’s motions to compel
22
      arbitration or enforcement of the releases, as they have not and cannot show that the arbitration or
23
      release clause in the independent contractor agreements covers Plaintinff’s misclassification
24
25    statutory claims. “[A]rbitration is a matter of contract and a party cannot be required to submit to

26    arbitration any dispute which he has not agreed so to submit.” AT&T Techs., Inc. v. Commc’n

27    Workers of Am., 475 US 643, 648 (1986) (internal quotes omitted). When determining whether an
28    arbitration provision covered the asserted claims, courts frequently first assess whether the arbitration


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 1    provision is “broad” or “narrow.” See, e.g., Cape Flattery Ltd. v. Titan Maritime, LLC, 647 F.3d 914,
 2    921–922 (9th Cir. 2011); Bono v. David, 147 Cal. App. 4th 1055, 1067–68 (2007). See also Dream
 3    Theater, Inc. v. Dream Theater, 124 Cal. App. 4th 547, 553 n.1 (2004).
 4
               The scope of the arbitration clause here — “All disputes over the terms of this Agreement”—
 5
      is exceedingly narrow, both under a common sense reading and under well- established case law. The
 6
      Ninth Circuit and California courts have repeatedly found arbitration provisions with similar
 7
      provisions—such as provisions covering disputes “arising out of this agreement” or “arising
 8
      hereunder”— to be “narrow,” and thus only cover claims arising from the contract terms, even if such
 9
10    claims would not have arisen but for the parties’ agreement. See Cape Flattery Ltd., 647 F.3d at 921–

11    924 (“[a]ny dispute arising under this agreement” was not broad enough to require arbitration of a

12    related claim for violation of a federal statute); Tracer Research Corp. v. Nat’l Envt’l Servs. Co., 42
13    F.3d 1292, 1295 (9th Cir. 1994) (agreement to arbitrate “any controversy or claim arising out of this
14    agreement” is more narrow than agreement to arbitrate claims related to the agreement and does not
15
      encompass tort or statutory claims, even if the “tort claim would not have arisen ‘but for’ the parties’
16
      licensing agreement”); Mediterranean Enters., Inc. v. Ssangyong Corp., 708 F.2d 1458, 1464 (9th
17
      Cir. 1983) (finding clause with “arising hereunder” language “is intended to cover a much narrower
18
      scope of disputes than language that includes “relating” to a contract; , i.e., only those relating to the
19
      interpretation and performance of the contract itself.”); Rice v. Downs, 248 Cal. App. 4th 175, 180,
20
21    186-194 (2016) (clause providing for arbitration of any controversy “arising out of this agreement”

22    was “narrow”).

23             Particularly on point here is Medical Staff of Doctors Medical Center in Modesto v. Kamil, 132
24    Cal. App. 4th 679 (2005), where the court considered an arbitration clause that is nearly identical to
25    the language used in the Agreements here. There the court held that a service contract between a
26
      medical group and an insurer that required arbitration of “any problem or dispute concerning the terms
27
      of this Agreement” was too narrow to cover the medical group’s defamation suit against the insurer.
28
      Id. at 683-84. While there was a nexus between the parties’ contract and the alleged defamatory

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 1    conduct, the claim was collateral to and thus not covered by the narrow arbitration clause. Id.; see also
 2    Bono, 147 Cal. App. 4th at 1067–68 (concluding a defamation claim was not subject to an arbitration
 3    clause in a land development agreement that was limited to disputes over “the construction and
 4
      application of any provision of this Agreement”; court noted that such terminology was “much
 5
      narrower” than broad arbitration clauses that use such “‘related to’ or ‘arising from’ terminology.”).
 6
      Similar to Kamil, the Court here should readily conclude that the scope of the Agreement’s arbitration
 7
      clause is narrow--indeed, it is narrower than the language in Kaimil--and thus confined to claims
 8
      based on the contract terms.
 9
10             The purposefully narrow arbitration or release provision here does not cover Plaintiff’s

11    statutory misclassification piece-rate claims, because such claims are not mentioned in the

12    agreement and are not predicated, expressly or impliedly, upon violations of the Agreements, but
13    arise independently as a result of Defendant’s violations of state and federal wage and hour laws.
14    The Ninth Circuit in Narayan v. EGL, Inc., 616 F.3d 895 (9th Cir. 2010) made clear, while
15
      interpreting the scope of a choice of law provision in an “independent contractor” agreement, that
16
      plaintiff’s statutory wage and hour claims arising from their alleged misclassification as
17
      “independent contractors” turn on whether they are defendants’ employees rather than on the
18
      agreements they had with defendants. Id.at 899. The Ninth Circuit rejected the argument that the
19
      mere relevance of the agreements was sufficient to trigger coverage. Id. “While the contracts will
20
21    likely be used as evidence to prove or disprove the statutory claims, the claims do not arise out of

22    the contract, involve the interpretation of any contract terms, or otherwise require there to be a

23    contract.” Id. As Judge Alsup succinctly explained, under Narayan, it is “the statute, not the
24    contract, [that gives] rise to the claims.” Quinonez v. Empire Today, LLC, No. C 10-02049 WHA,
25    2010 WL 4569873, at *3 (N.D. Cal. Nov. 4, 2010) (“The claims brought by plaintiff do not arise
26
      under the contract between the parties.”).
27
               Accordingly, several courts since Narayan have denied motions to compel arbitration in
28
      “independent contractor” misclassification cases, finding plaintiffs’ statutory wage and hour claims

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 1    did not arise from or out of the agreements that labeled them independent contractors. See, e.g.,
 2    Elijahjuan v. Superior Court, 210 Cal. App. 4th 15, 23 (2012) (arbitration clause limited to
 3    “dispute[s that] arise[] with regard to [the agreement’s] application or interpretation” did not cover
 4
      claims brought under the Labor Code by a group of truck drivers who claimed they were
 5
      misclassified as independent contractors); Hoover v. Am. Income Life Ins. Co., 206 Cal. App. 4th
 6
      1193, 1208-09 (2012) (arriving at same result with regard to a provision requiring arbitration of
 7
      disputes “arising out of or relating to this contract” and “all disputes, claims, questions and
 8
      controversies of any kind or any nature arising out of or relating to this contract”). See also Ronlake
 9
10    v. US-Reports, Inc., No. 11–cv–2009 LJO MJS, 2012 WL 39ba3614, at *4 (E.D. Cal. Feb. 6, 2012)

11    (employee who was converted to non- employee “member” and required to sign agreement to

12    adjudicate all claims arising under the “member” agreement in New York could bring Labor Code
13    claims in California; status under the contract was not at issue, rather “[t]he question is whether in
14    classifying Plaintiffs as nonemployees, Defendant has violated the [Labor Code]”).
15
               In Bautista v. Juul Labs, Inc., 478 F. Supp. 3d 865, 873 (N.D. Cal. 2020), the court found a
16
     similar arbitration provision of an independent contractor agreement did not cover misclassification
17
     claims:
18
19             Without question, Defendants could have drafted the arbitration provision to cover labor
               code misclassification causes of action by, for example, expressly providing for
20             arbitration of disputes or claims arising out of, or related to, Plaintiffs’ employment, or of
               all labor code claims. Instead, Defendants drafted a narrow clause that only covers
21             "disputes over the terms of" the ICA, which, applying Ninth Circuit and California law,
22             Plaintiffs’ causes of action clearly are not.

23             Here, as is Bautista, the arbitration provision does not cite the California Labor Code,

24   Misclassification or Piece-rate claims as being covered. Damages for misclassification of a

25   California’s Piece-rate employee include mandatory payment for an employee’s nonproductive and
26   recovery periods. The Piece-rate statute was passed in California in 2016 to protect individual such
27   as plaintiff. Furthermore, Defendant was fully aware of piece-rate litigation since it faced similar
28   claims from other employees at the time of signing. Defendant could have easily included the case


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 1   name of the pending piece-rate litigation (Martel v. Hearst) or listed misclassification, paystub
 2   violations, failure pay non-productive time or piece-rate as claims to be arbitrated or stated the
 3   arbitration provision applied to all employment California Labor Code violations. From the face of
 4
     the agreement, a reasonable interpretation is that these claims were purposefully excluded from the
 5
     agreement and not subject to arbitration. As in Narayan and its progeny, a workers statutory wage
 6
     and hour claims here do not arise from the terms of the Agreement but rather from whether they
 7
     served as Defendant’s employees under the statutes they allege Defendant violated. The Agreement’s
 8
     arbitration or release clause thus does not cover the claims here. To the extent the agreement applies
 9
10   to the FLSA, Plaintiff requests that the Court permit Plaintiff to amend the Complaint and remove

11   the FLSA claims and to allege jurisdiction via diversity.

12            C.       The Arbitration Agreement was Unconscionable.
13              “If the court as a matter of law finds the contract or any clause of the contract to have been

14    unconscionable at the time it was made the court may refuse to enforce the contract, or it may
15    enforce the remainder of the contract without the unconscionable clause, or it may so limit the
16    application of any unconscionable clause as to avoid any unconscionable result.” CAL. CIV. PROC.
17
      CODE § 1670.5(a). Unconscionability analysis begins with an inquiry into whether the contract is
18
      one of adhesion. Martinez v. Master Protection Corp., 118 Cal.App.4th 107, 113 (2004). A contract
19
      of adhesion “signifies a standardized contract, which, imposed and drafted by the party of superior
20
      bargaining strength, relegates to the subscribing party only the opportunity to adhere to the contract
21
22    or reject it.” Id. Unconscionability has both procedural and substantive elements. Serpa v. California

23    Surety Investigations, Inc., 215 Cal.App.4th 695, 702 (2013).

24                     1.       The Arbitration Agreement was Procedurally Unconscionable.

25            An agreement is procedurally unconscionable when it is based on “oppression” and “surprise”

26   that results from unequal bargaining strength between the parties. Armendariz v. Foundation Health
27   Psychcare, 24 Cal. 4th 83, 114 (2000). “Oppression” arises from an inequality of bargaining power
28   which involves lack of negotiation and the absence of meaningful choice. Pinnacle Museum Tower


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 1   Ass’n v. Pinnacle Market Dev. (US), LLC, 55 Cal.4th 223, 247 (2012). “Surprise” refers to “the extent to
 2   which the supposedly agreed-upon terms of the bargain are hidden in the prolix printed form drafted by
 3   the party seeking to enforce the disputed terms.” Perez v. Maid Brigade, No. C 07-3473 SI, 2007 WL
 4
     2990368, *5 (N.D. Cal. Oct. 11, 2007) (citation omitted). An arbitration agreement procedurally is
 5
     unconscionable when it is a “take it or leave it” prerequisite to employment, and job applicants could not
 6
     modify the agreement’s terms. Circuit City Stores, Inc. v. Adams (9th Cir. 2002) 279 F.3d 889, 893.
 7
                                a.       Defendant’s Release Provision is Oppressive
 8
               The oppression element of the procedural unconscionability analysis is “nearly always
 9
      established” where, as here, the contract is “one of adhesion.” Pokorny v. Quixtar, Inc., 601 F.3d 987,
10
11    996-97 (9th Cir. 2010) (“[T]he “oppressive behavior [of imposing an adhesion contract] is the

12    quintessential characteristic of a procedurally unconscionable agreement”); Ingle v. Circuit City

13    Stores, Inc., 328 F.3d 1165, 1172 (9th Cir. 2003). (“[W]hen a party who enjoys greater bargaining

14    power than another party presents the weaker party with a contract without a meaningful opportunity
15    to negotiate, “oppression and, therefore, procedural unconscionability, are present”); Armendariz, 24
16    Cal.4th at 113. See also Circuit City Stores, Inc. v. Adams, 279 F.3d 889, 893 (9th Cir. 2003) (finding
17
      procedural unconscionability where arbitration agreement was a contract of adhesion that could not
18
      be modified and was required for employment); Wherry v. Award, Inc., 192 Cal. App. 4th 1242, 1247
19
      (2011) (finding procedural unconscionability because, among other factors, “[n]o one described the
20
      agreement’s contents and plaintiffs were given but a few minutes to review and sign it, without any
21
22    time to ask questions.”). Defendant was patently in a superior bargaining position to the Dealers like

23    Plaintiff. As a condition of employment, Defendant presented to every person who wished to work

24    for Defendant a pre-printed, fill-in-the-blank independent contractor agreement, a “take-it-or-leave-it

25    standardized employment form.” Lou v. Ma Labs., Inc., No. 12-CV-05409 WHA, 2013 WL 2156316,
26    at *2 (N.D. Cal. May 17, 2013). Defendant cannot contend—and should make no attempt to show--
27    that the release, indemnity and/or other clauses were negotiable.
28


                                                             11
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 1            Contract are undoubtedly coercive because Defendants threatens to not renew Plaintiff’s
 2   employment contracts for refusing to sign. Wang v. Chinese Daily News, Inc., 623 F.3d 743, 757 (9th
 3   Cir. 2010), vacated on other grounds by Chinese Daily News, Inc. v. Wang, 565 U.S. 801 (201])
 4
     (affirming district court's decision to invalidate class member opt outs after the defendant had
 5
     "terminat[ed] an employee supporting the litigation"); Guifu Liv. A Perfect Day Franchise, Inc., 270
 6
     F.R.D. 509, 513, 518 (N.D. Cal. 2010) (invalidating class member opt-out forms "obtained through
 7
     coercion" where, for example, one declarant was terminated "soon after refusing to sign the form," and
 8
     two others "signed the form even though they did not want to"); Giles v. Si. Charles Health Sys., Inc.
 9
10   980 F. Supp 2d 1123, 1226-27 (D. Or. 2013) (enjoining further communications with employees where

11   "[a]t least one employee reported that she [wa]s 'worried [defendant] will retaliate against me' for

12   refusing to sign the Release and/or participating in this law suit"); In re ML Stern Overtime Litig. 250
13   F.R.D. 492, 500 (S.D. Cal. 2008) (finding that the defendant's statement to employees that the lawsuit
14   could cause the company to go bankrupt was coercive); Camp v. Alexander, 300 F.R.D.617, 625 (N.D.
15
     Cal. 2014) (statement that the company "would close and employees would lose their jobs if the
16
     litigation proceeded" was "highly inflammatory" and coercive).
17
               Defendant required non-English speaking employees and other employees to sign agreements
18
      containing releases, waiver of rights, and arbitration agreements if they wanted to continue to work
19
      for Defendant. Courts have readily found procedural unconscionability in similar circumstances.
20
21    Marcos v. Koreana Plaza Mkt. Oakland, Inc., No. C- 06-07682 RMW, 2007 WL 1771533, at *3

22    (N.D. Cal. June 18, 2007) (“[b]ecause the evidence is undisputed that plaintiffs’ understanding of

23    English is at best limited, the agreement was procedurally unconscionable as there is substantial risk
24    that plaintiffs did not understand what it was they were signing.”); Carmona v. Lincoln Millenium
25    Car Wash, Inc., 226 Cal. App. 4th 74, 81 (2014) (finding company’s failure to translate clause into
26
      Spanish elevated case to “high degree” of procedural unconscionability); Samaniego v. Empire Today
27
      LLC, 205 Cal. App. 4th 1138, 1146 (2012) (arbitration provision was procedurally unconscionable
28
      where the workers did not speak English as a first language and had limited or no literacy in English).

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 1            In Magno v. College Network, Inc., 1 Cal.App.5th 277, 285 (2016), the court ruled that an
 2   arbitration agreement signed by college students was procedurally unconscionable when it was “buried
 3   on the back page of the preprinted carbon paper forms”, the students were rushed through the signing
 4
     process, and the students had no ability to negotiate. Likewise, an “arbitration agreement that is an
 5
     essential part of a ‘take it or leave’ employment condition, without more, is procedurally
 6
     unconscionable.” Martinez v. Master Protection Corp., 118 Cal.App.4th 107, 114 (2004).
 7
               In addition to being forced to sign a contract of adhesion, Plaintiff was not provided
 8
      complete information about what they were signing and were not provided the document in Spanish.
 9
10    Further, Defendants were aware of other cases and misled Plaintiff. To the contrary, Plaintiff relied

11    upon the oral representations of Defendant’s representatives regarding the Agreement. Defendant’s

12    representatives, in turn, wholly omitted any mention of the arbitration clause and releases of rights
13    when purportedly reviewing the terms of the agreement. The “surprise” element of procedural
14    unconscionability “involves the extent to which the supposedly agreed-upon terms of the bargain are
15
      hidden in the prolix printed form drafted by the party seeking to enforce the disputed terms.” Stirlen
16
      v. Supercuts, Inc., 51 Cal. App. 1519, 1532 (1997). The arbitration provision – set out in the
17
      Agreement – was hidden in the adhesion contract as “General Provisions” that apply to
18
      “contractors” not employees, inconspicuous, not bolded or otherwise set apart from the rest of the
19
      text, and not on a page requiring a signature. Courts have found such arbitration provisions to be
20
21    procedurally unconscionable. See Zaborowski v. MHN Gov’t Servs., 936 F. Supp. 2d 1145, 1152

22    (N.D. Cal. 2013) (finding procedural unconscionability where the arbitration clause was not

23    highlighted or outlined, and did not require a separate signature), aff’d, 601 F. App’x. 461 (2014);
24    Lau v. Mercedes-Benz USA, LLC, No. 11-CV-1940 MEJ, 2012 WL 370557, at *8 (N.D. Cal. Jan.
25    31, 2012) (finding procedural unconscionability where arbitration clause was “imbedded
26
      inconspicuously” within the document and not on a page requiring a signature).
27
                       2.       The Arbitration Agreement is Substantially Unconscionable.
28


                                                           13
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 1             Under California contract law, provisions are substantively unconscionable when they create
 2    overly harsh or one-sided results, or lack a necessary “modicum of bilaterality.” Pokorny, 601 F.3d at
 3    998; Armendariz, 24 Cal.4th at 117. “Substantive unconscionability pertains to the fairness of an
 4
      agreement’s actual terms and to assessments of whether they are overly harsh or one-sided.” Magno
 5
      v. College Network, Inc., 1 Cal.App.5th 277, 284 (2016). “The ultimate issue in every case is whether
 6
      the terms of the contract are sufficiently unfair, in view of all relevant circumstances, that a court
 7
      should with enforcement.” Id. at 912. Here, Plaintiff was made to agree to a broad hold-
 8
      harmless/indemnity provision that, if enforced, would waive their Labor Code protections.
 9
10             Application of the Fee Shifting Provision would serve as an unlawful waiver of Plaintiff’s

11    substantive rights. For example, the arbitration clause contains an apportionment clause that states,

12    “The Arbitrator's and/or arbitration fees will be apportioned equally between the parties, and any
13    disputes in that regard will be resolved by the Arbitrator.” (Nakama Decl., Exhibit C, ¶18(j)). As the
14    California Supreme Court noted, this fee shifting provision is unenforceable because an employer
15
      must pay the entire cost of arbitration except costs an employee would necessarily pay in a court
16
      proceeding. Armendariz v. Foundation Health Psychcare, 24 Cal. 4th 83, 110-113 (2000).
17
               The application of the Hold “Indemnity,” and “Employee Benefits” waiver and “flow down”
18
      provisions serve to waive Plaintiff’s statutory rights. In addition to the invalid release of all claims
19
      against Defendant, the “Indemnification” and “flowdown” section of the Agreements also contain
20
21    indemnity provisions, which purport to make Plaintiff financially responsible for all of Defendant’s

22    liabilities arising from Plaintiff’s negligence, as well as “omission,” arising from their work under the

23    Agreement, including “attorneys’ fees.” (Nakama Decl., Exhibit A, ¶ 13; Nakama Decl., Exhibit B, ¶
24    13; Nakama Decl., Exhibit C, ¶ 13). These clauses conflicts with the work-related protections of
25    Labor Code section 2802, which requires the employer to indemnify “for all necessary expenditures
26
      of losses incurred by the employee in direct consequence of the discharge of his or her duties, or of
27
      his or her obedience to the directions of the employer, work-related expenses, including losses
28
      resulting from the employees’ negligence.” The financial protections Section 2802 affords employees

                                                           14
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 1    from work- related losses are non-negotiable and cannot be waived. Desimone v. Allstate Ins. Co.,
 2    No. C 96- 036606 CW, 1999 WL 33226248, at *9 (N.D. Cal. Sept. 14, 1999); Edwards v. Arthur
 3    Andersen LLP, 44 Cal.4th 937, 951-52 (2008). In Arthur Anderson, the California Supreme Court
 4
      noted: “Therefore, the waiver of ‘any and all’ claims would not encompass the right to
 5
      indemnification, because we treat the [release] as expressly incorporating the law that the employee
 6
      cannot waive that right.” Arthur Anderson, 44 Cal.4th 937 at 955. The arbitration agreement, clause
 7
      18(b) also unlawfully attempts to give an arbitrator the right to determine workers compensation and
 8
      unemployment benefits. The release is one sided as Defendant did not release any claims.
 9
10            D.       The Arbitration Agreement does not meet the Armenariz Standard.

11            The California Supreme Court set forth the necessary terms for an enforceable arbitration

12   agreement: (1) provides for more than minimal discovery; (2) provides for neutral arbitrators; (3)

13   provides for all types of relief that would otherwise be available in court; and (4) does not require

14   litigants to pay either unreasonable costs or any arbitrators’ fees or expenses as a condition of access to
15   the arbitration forum; and (5) requires a written award. Armendariz v. Found. Health Psychcare Servs.,
16   Inc., 24 Cal. 4th 83, 102 (2000). The arbitration clause fails to satisfy the requirements. The arbitration
17
     clause states that the arbitration fees must be split equally among the parties. The fee shifting provision
18
     is unenforceable because an employer must pay the entire cost of arbitration except costs an employee
19
     would necessarily pay in a court proceeding. Armendariz v. Foundation Health Psychcare, 24 Cal. 4th
20
     83, 110-113 (2000). Further, the arbitration agreements fails because it requires that the arbitrator
21
22   specialize in commercial law and not, employment law, which would unfairly disadvantage Plaintiff.

23                                                       IV.       CONCLUSION

24            Plaintiff respectfully request that the Court deny Defendant’s motion.
25
26   Dated: July 21, 2021
27
28                                                 By: _________________________________
                                                          Scott S. Nakama, Esq.


                                                          15
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